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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

      IN RE: SOCIAL MEDIA ADOLESCENT
      ADDICTION/PERSONAL INJURY
      PRODUCT LIABILITY LITIGATION                          MDL DOCKET NO.:




   BRIEF IN SUPPORT OF MOTION FOR TRANSFER AND COORDINATION OR
                 CONSOLIDATION UNDER 28 U.S.C. § 1407

       Pursuant to 28 U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure of the Judicial Panel

on Multidistrict Litigation, Movant-Plaintiff Brianna Murden respectfully submits this Brief in

Support of Motion for Transfer and Coordination or Consolidation.

                                       BACKGROUND

       Plaintiff Brianna Murden is a twenty-one-year-old female who compulsively uses

Defendants’ social media products, Facebook and Instagram. Shortly after engaging with

Defendants’ products around the age of ten, Plaintiff began exhibiting addictive and problematic

use of the products. Prompted by the addictive design of Defendants’ products, and the constant

24-hour stream of notifications emitted from these products, Plaintiff began getting less and less

sleep. While addictively viewing images and videos that had been altered by the platforms’

appearance and beauty enhancing product features and curated to her by the platforms’ algorithms,

Plaintiff began to struggle psychologically with her self-image and relationship with food. As a

result of the dangerous design and other features of Defendants’ products, Plaintiff subsequently

developed injuries including social media compulsion, disordered eating, depression, body




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dysmorphic disorder 14, multiple periods of suicidal ideation, severe anxiety, self-harm (e.g. cutting

and burning herself), and a reduced inclination or ability to sleep.

        The injuries suffered by Plaintiff were of no surprise to Defendants. As former Facebook

employee turned “whistleblower” Frances Haugen testified to Congress, internal Meta documents

show that Defendants were aware of the harm its products cause users, especially female children

and adolescents. Unfortunately, Plaintiff is not the only young female suffering from these same

injuries.

        This motion for transfer involves at least twenty-eight (28) actions pending in seventeen

(17) different districts across the United States, asserting nearly identical factual allegations and

legal claims against Defendants. (See Schedule of Actions, attached as Exhibit “A”). The vast

majority of Plaintiffs are adolescent females who are particularly vulnerable to addiction and other

injuries caused by Defendants’ algorithms as this population is in the formative years of their

development.

        Plaintiffs. The actions identically allege that, as designed and developed by Defendants,

Meta’s Facebook and Instagram products are unreasonably dangerous to users, particularly

adolescents. Further, Defendants failed to warn minors and their parents about risks posed by the

products; and the Facebook and Instagram products contained design defects as developed by

Defendants. Plaintiffs come from geographically diverse regions, residing in Alabama, California,


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   Body dysmorphic disorder is a mental disorder in which a person is preoccupied with an
imagined physical defect or a minor defect that others often cannot see. Individuals who suffer
from body dysmorphic disorder intensely focus on their appearance and body image, repeatedly
checking the mirror, grooming or seeking reassurance, sometimes for many hours each day. The
perceived flaw and the repetitive behaviors cause significant distress and impact ability to function
in daily life. See Mayo Clinic Staff, Body dysmorphic disorder, Mayo Clinic (March 19, 2022),
https://www.mayoclinic.org/diseases-conditions/body-dysmorphic-disorder/symptoms-
causes/syc-20353938#:~:text=Overview,may%20avoid%20many%20social%20situations;
Smitha Bhandari, MD, Body Dysmorphic Disorder, WebMD (June 30, 2020),
https://www.webmd.com/mental-health/mental-health-body-dysmorphic-disorder.

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Colorado, Delaware, Georgia, Florida, Illinois, Kentucky, Louisiana, Missouri, Oregon, Texas,

Tennessee, Virginia, and Wisconsin.

       Defendants. 15 Meta Platforms, Inc. (“Meta”), Facebook Holdings, LLC, Facebook

Operations, LLC, Facebook Payments, Inc., Facebook Technologies, LLC, Instagram LLC, and

Siculus, Inc. (collectively, “Defendants”) operate the world’s largest family of social networks,

primarily through the Facebook and Instagram platforms. Defendants Meta, and Siculus Inc. are

Delaware corporations with their principal place(s) of business in Menlo Park, California.

Defendant Facebook Payments, Inc. is a Florida corporation with its principal place of business in

Menlo Park, California. Defendants Facebook Holdings, LLC, Facebook Operations, LLC,

Facebook Technologies, LLC, and Instagram, LLC were incorporated in Delaware, and the sole

member of each of these LLCs is Defendant Meta.

       Status of Actions. The actions are in their infancy. All but one case was filed in 2022, and

discovery has not begun in any case. Currently, most cases still await an initial Rule 26(f)

conference.

                                      LEGAL STANDARD

       Transfer and consolidation is appropriate when actions pending in different judicial

districts involve similar questions of fact such that consolidating pretrial proceedings would

“promote the just and efficient conduct of such actions.” 28 U.S.C. § 1407. In relevant part,

Section 1407 provides:

       When civil actions involving one or more common questions of fact are pending
       in different districts, such actions may be transferred to any district for
       coordinated or consolidated pretrial proceedings. Such transfers shall be made by

15
  As stated in FN 1, other filed cases also name Defendants Snap, Inc., TikTok, Inc., and
ByteDance, Inc. These Defendants operate the social media platforms “Snapchat” and “TikTok”
and similarly use defectively design features resulting in youth addiction and other injuries. The
complaints naming these two Defendants allege similar facts and injuries associated with
adolescent use of these platforms.

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        the judicial panel on multidistrict litigation authorized by this section upon its
        determination that transfers for such proceedings will be for the convenience of
        parties and witnesses and will promote the just and efficient conduct of such
        actions.

28 U.S.C. § 1407(a).

        In deciding whether to transfer a case under Section 1407, the Panel typically considers

whether centralization would: (1) eliminate duplication in discovery; (2) avoid conflicting rules

and schedules; (3) reduce litigation costs; and (4) conserve the time and effort of the parties,

attorneys, witnesses, and courts. See Manual for Complex Litigation (Fourth) § 20.131 (2004)

(citing In re Plumbing Fixtures Cases, 298 F. Supp. 484 (J.P.M.L. 1968)).

                                         ARGUMENT

   I.      TRANSFER OF THE ACTIONS TO ONE COURT FOR CONSOLIDATION
           OR COORDINATION IS APPROPRIATE UNDER 28 U.S.C. § 1407

        Consolidation of pretrial proceedings in an MDL is appropriate if (1) actions pending in

different federal courts involve “one or more common questions of fact”; and (2) consolidation

“will be for the convenience of parties and witnesses and will promote the just and efficient

conduct of such actions.” 28 U.S.C. § 1407(a). Both factors strongly favor consolidating the

pretrial proceedings of these actions.

               A.      Consolidation or Coordination Is Appropriate Because
                       the Related Actions Involve One or More Common
                       Questions of Fact.

        Section 1407 requires that the cases to be consolidated raise “one or more common

questions of fact.” The Panel, however, need not find that the cases are identical. See In re Ins.

Brokerage Antitrust Litig., 360 F. Supp. 2d 1371, 1372 (J.P.M.L. 2005) (“[T]ransfer under Section

1407 does not requires a complete identity or even majority of common factual issues as a

prerequisite to transfer.”). The Panel consistently finds that cases involving overlapping factual

issues are appropriate for consolidation or coordination. See e.g., In re: JUUL Labs, Inc. Mktg.,

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Sales Practices, Prods. Liab. Litig., 396 F. Supp. 3d 1366, 1368 (J.P.M.L. 2019); In re: Yasmin,

Yaz (Drospirenone) Mktg., Sales Practices & Prods Liab. Litig., MDL. 2100, 2009 WL 3163531,

at *1 (Oct. 1, 2009) (“We find that these 32 actions involve common questions of fact, and that

centralization under Section 1407 in the Southern District of Illinois will serve the convenience of

the parties and witnesses and promote the just and efficient conduct of this litigation.”); In re

Phenylpropanolamine (PPA) Prods. Liab. Litig., 173 F. Supp. 2d 1377, 1379 (J.P.M.L. 2001)

(“The Panel finds that the actions in this litigation involve common questions of fact, and that

centralization under Section 1407 in the Western District of Washington will serve the

convenience of the parties and witnesses and promote the just and efficient conduct of the

litigation.”).

        The actions subject to this motion are brought by Facebook and Instagram users, or in the

case of users who are minors, their guardians. The actions allege, in short, that the Facebook and

Instagram products, as designed by Defendants, were unreasonably dangerous to users,

particularly adolescent users; Defendants failed to warn minor users and their parents about risks

posed by the products; and the Facebook and Instagram products contained manufacturing defects

as developed by Defendants. The factual allegations regarding Defendants’ conduct in the

complaints are substantially the same: Defendants’ social media products are intentionally

designed to be addictive and utilize sophisticated algorithms to manipulate and maximize user time

and engagement. The complaints allege similar injuries because of Defendants’ conduct. Further,

because Section 1407 does not require a majority of common factual issues as a condition for

transfer, the many common questions thus presented are more than sufficient to satisfy Section

1407. See In re: Ins. Brokerage Antitrust Litig., 360 F. Supp. 2d 1371, 1372 (J.P.M.L. 2005).




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        Additionally, these actions rely on comparable legal theories of recovery. The complaints

allege similar claims of product liability, negligence, misrepresentation, fraud, unjust enrichment,

breach of warranty, and infliction of emotional distress. While not every cause of action is asserted

in every case, the complaints all share essentially the same legal causes of action and theories of

Defendants’ liability. As this Panel has noted, “the presence of additional or differing legal theories

is not significant when the actions still arise from a common factual core[.]” In re: Oxycontin

Antitrust Litig., 542 F. Supp. 2d 1359, 1360 (J.P.M.L. 2008).

        Thus, consolidation or coordination is appropriate under 28 U.S.C. § 1407(a) because the

actions involve significant common issues of fact.

                B.      Consolidation or Coordination for Pretrial
                        Proceedings Will Further the Convenience of Parties
                        and Witnesses

        Consolidation or coordination under Section 1407(a) will serve the convenience of both

the parties and witnesses.

        First, early consolidation will reduce discovery costs and burdens between the parties.

Currently, all but one of the pending cases are in the initial stages. 16 If the cases continue to proceed

separately amongst many districts across the country, substantial duplicative discovery will occur

because of the similarity between the matters. Multiple, distinct cases would involve similar rounds

of initial responsive pleadings, repetitive written discovery, and duplicative depositions of the

parties’ witnesses. The Panel has consistently stated that Section 1407 is designed to prevent this

repetition and duplication. See, e.g., In re: Pilot Flying J Fuel Rebate Contract Litig. (No. 11), 11

F. Supp. 3d 1351, 1352 (J.P.M.L. 2014) (“Centralization will avoid repetitive depositions of



16
   The only matter to proceed even to the responsive pleading stage is Rodriguez, where Defendants
filed an initial motion to dismiss. See Rodriguez v. Meta Platforms, Inc., Case No. 3:22-cv-00401-
JD, (N.D. Cal. 2022). All other cases, however, have yet to even hold a Rule 26(f) conference.

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[Defendant’s] officers and employees and duplicative document discovery[.]”); In re: Starmed

Health Pers. FLSA Litig., 317 F. Supp. 2d 1380, 1381 (J.P.M.L. 2004) (transfer was ordered to

“eliminate duplicative discovery” and “conserve the resources of the parties”); In re: Zyprexa

Prods. Liab. Litig., 314 F. Supp. 2d 1380, 1382 (J.P.M.L. 2004) (“[T]ransfer under Section 1407

will offer the benefit of placing all actions in this docket before a single judge who can structure

pretrial proceedings to consider all parties’ legitimate discovery needs while ensuring that common

parties and witnesses are not subjected to discovery demands that duplicate activity[,]”). Indeed,

consolidation is particularly needed here given youthfulness of the plaintiff population, which

introduces a layer of complexity given the sensitivity of the injuries alleged and related

confidentiality concerns. To ensure that the plaintiffs are afforded all protections available under

the law, it will be beneficial if the process of obtaining and handling discoverable information is

conducted consistently under the watch of a single judge.

       Second, consolidation will avoid inconsistent rulings between the various courts. That risk

is heightened in this litigation, where initial decisions regarding discovery of the parties’

electronically stored information (“ESI”) is particularly important as this case centers on plaintiffs’

use of Defendants’ online Facebook and Instagram products. These cases involve complex data

and data recovery regarding user information and interaction with Defendants’ algorithms and

other product features. The parties would benefit from a uniform process. But federal district courts

often have different model or standard ESI protocol orders. For example, the Middle District of

Tennessee, where one action is pending, has a differing ESI protocol than the Northern District of

Illinois, where multiple actions are pending. 17 These differences could produce various discovery


17
  Middle District of Tennessee’s Administrative Order No. 174-1 entered September 12, 2018,
and Northern District of Illinois Magistrate Judge Sunil R. Harjani’s [Model] Stipulated Order for
Discovery of Electronically Stored Information for Standard Litigation, differ in the areas of
preservation, collection, search, and form of production of ESI, as well as, how to approach

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motions followed by inconsistent scope, preservation, and production orders. But this risk extends

beyond ESI protocols and discovery preservation/production. Inconsistent rulings on other legal

issues inherent in this litigation could result in the type of “pretrial chaos” that Section 1407 was

designed to prevent. See, e.g., In re Plumbing Fixture Cases, 298 F. Supp. 484, 492-93 (J.P.M.L.

1968).

         Transfer is particularly appropriate here because these actions are still in the early stages.

And even though many of the plaintiffs to date are represented by three law firms, 18 the Panel has

recognized: “informal coordination and cooperation among the parties and courts” is not

“sufficient to eliminate the potential for duplicative discovery, inconsistent pretrial rulings, and

conflicting discovery obligations.” In re: Generic Pharm. Pricing Antitrust Litig., No. MDL 2724,

2017 WL 4582710, at *2 (J.P.M.L. Aug. 3, 2017).




privilege. While both courts permit the parties to move for alternative orders to be entered, each
of these orders would serve as a guideline and starting place for negotiation for an alternate order.
For a complex mass tort, this presents issues that would not arise in a single-event type of litigation.
If the JPML considers that there could be dozens of contradictory local administrative orders or
model orders, the variations in ESI Protocol Orders could lead to dissimilar productions of ESI in
the related litigations, not to mention inefficiencies in the Rule 26(f) meet and confer processes.
Alternatively, the parties could end up being held to an ESI Protocol that is not best suited to this
litigation, simply because it was the first one entered in a certain court under that court’s local
rules.

Middle District of Tennessee’s Administrative Order No. 174-1 is available                            at
https://www.tnmd.uscourts.gov/content/default-standard-discovery-electronically-stored-
information-e-discovery.

Northern District of Illinois Magistrate Judge Sunil R. Harjani’s [Model] Stipulated Order for
Discovery of Electronically Stored Information for Standard Litigation is available at
https://www.ilnd.uscourts.gov/_assets/_documents/_forms/_judges/Harjani/Standard%20Litigati
on%20Proposed%20ESI%20Order.pdf.
18
   Upon information and belief, the number of law firms involved in related actions is expected
to increase as new cases are initiated and interest among mass tort law firms grows.

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                C.      Consolidation or Coordination for Pretrial Proceedings
                        Will Promote the Just and Efficient Conduct of the
                        Actions

        The Panel recognizes many factors in determining whether the “just and efficient conduct”

of the actions will be advanced by transfer, including those discussed above and: (1) advancing

judicial economy; and (2) reducing the burden on the parties by allowing division of workload

among several attorneys. See, e.g., In re: Endangered Species Act Section 4 Deadline Litig., 716

F. Supp. 2d 1369 (J.P.M.L. 2010).

        Under the current course, a minimum of twenty-four (24) different federal judges will be

required to hear and rule on the various factual and legal issues. Scarce judicial resources would

be drained by having multiple federal courts oversee actions that are essentially the same.

Additionally, counsel for the parties would be required to appear in almost every part of the

country, stretching attorney capacity and adding exceptional cost. Consolidation or coordination

of the actions will promote the just and efficient conduct of the actions. Each related action likely

will involve the same pretrial issues. See, e.g., In re: Vioxx Prods. Liab. Litig., 360 F. Supp. 2d

1352, 1354 (J.P.M.L. 2005) (“Transfer under Section 1407 has the salutary effect of placing all

actions in this docket before a single judge who can formulate a pretrial program that: 1) allows

discovery with respect to any non-common issues to proceed concurrently with discovery on

common issues . . . and 2) ensures that pretrial proceedings will be conducted in a manner leading

to the just and expeditious resolution of all actions to the overall benefit of the parties.”).

                                           *       *       *

        Movant-Plaintiff anticipates many more cases will be filed in numerous other district courts

in the coming weeks and months. As this Panel has recently stated, “Although individualized

factual issues may arise in each action, such issues do not—especially at this early stage of

litigation—negate the efficiencies to be gained by centralization . . . The alternative of allowing

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the various cases to proceed independently across myriad districts raises a significant risk of

inconsistent rulings and inefficient pretrial proceedings.” In re: Nat’l Prescription Opiate Litig.,

290 F. Supp. 3d 1375, 1379 (J.P.M.L. 2017). Consolidation or coordination in one venue is

therefore the best solution for these cases and any tag-along actions.

   II.      THE PANEL SHOULD TRANSFER AND CONSOLIDATE THE ACTIONS IN
            THE NORTHERN DISTRICT OF ILLINOIS OR THE WESTERN DISTRICT
            OF MISSOURI.

         In determining the most appropriate transferee forum, the Panel considers, among other

factors, “where the largest number of cases is pending, where discovery has occurred, where cases

have progressed furthest, the site of the occurrence of the common facts, where the cost and

inconvenience will be minimized, . . . the experience, skill, and caseloads of available judges,”

where the first filed case is located, and whether the proposed district provides an accessible

location. See Manual for Complex Litigation (Fourth) § 20.131 (2005); In re: Educ. Testing Serv.

Plt 7-12 Test Scoring Litig., 350 F. Supp. 2d 1363, 1365 (J.P.M.L. 2004) (Panel found district

appropriate where four of the thirteen actions were already pending in the district, the district

provided an accessible, metropolitan location, the district had favorable caseload conditions, and

the judge had experience managing multidistrict litigation); In re Wheat Farmers Antitrust Class

Action Litig., 366 F. Supp. 1087, 1088 (J.P.M.L.1973) (Panel considered the conveniences of the

parties and witnesses, location of relevant documents, stage of pretrial proceedings, and the status

of civil dockets).

         Although many district courts would be suited to oversee this litigation, the Northern

District of Illinois, or alternatively the Western District of Missouri, as the transferee court is

preferable and proper to “promote the just and efficient conduct of [the] actions” and advance the

“convenience of parties and witnesses.” 28 U.S.C. §1407.



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               A. Northern District of Illinois, Judge Sara L. Ellis

        Movant-Plaintiff’s case is pending in the Northern District of Illinois along with two

additional related-actions. 19 The Northern District of Illinois is centrally located compared to East

or West Coast courts and would permit convenient travel for all parties, witnesses, and counsel.

The Northern District of Illinois is home to Chicago, Illinois, which is an accessible, metropolitan

location with multiple airports. Although Meta’s principal place of business is in California, the

Northern District of Illinois is centrally located to Defendants’ data centers where they store user

information and connect the Facebook and Instagram products to the internet at large. Upon

investigation, it appears that most of the relevant ESI will be housed in these data centers,

providing easy access between these data centers and the Court. 20

        Additionally, the Northern District of Illinois has an exceptional track record of efficiently

managing its docket. The median time from filing to disposition of a civil case in the Northern

District of Illinois is a mere 7.4 months. The Northern District of Illinois also has the resources to

provide an efficient disposition of these cases, both in terms of number of current MDL’s pending

(16) and amount of judges/size of the Clerk’s office. 21 Finally, the Northern District of Illinois is

tied for the greatest number of filed cases within a particular district. When combined with the

other factors, the presence of multiple cases in this Court strongly favors transferring the litigation

here.




19
   See Schedule of Actions attached as Exhibit “A” at pg. 5.
20
    Meta currently has 17 different data centers located throughout the United Stated, including
Illinois, Iowa, Utah, North Carolina, Texas, Tennessee, Virginia, Alabama, Missouri, Idaho, New
Mexico, Arizona, Ohio, Georgia, Oregon, and Nebraska. See Meta Data Centers (last visited July
30, 2022, 8:57 PM), https://datacenters.fb.com/#locations.
21
   See Caseload Statistics Data Tables, United States Courts, https://www.uscourts.gov/statistics-
reports/caseload-statistics-data-tables.

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       Movant-Plaintiff respectfully requests the Panel transfer and consolidate these actions to

U.S. District Court Judge Sara L. Ellis of the Northern District of Illinois. Judge Ellis has served

as District Judge in the Northern District of Illinois since 2013. Before her appointment, Judge

Ellis engaged in private practice where she handled white collar criminal matters, complex civil

litigation, and corporate counseling. During nine years on the bench, Judge Ellis has amassed

significant experience overseeing complex litigation, having handed complex cases, including

securities fraud and patent cases as well as consumer fraud and breach of contract class actions.

She has presided over cases involving extensive expert testimony, managing both discovery and

Daubert motions. 22 This proposed MDL is poised to become exceptionally large and complex in

matters of case management, discovery, and cutting edge factual and legal issues. Thus, a veteran

judge with significant experience in complex litigation would be beneficial. Judge Ellis’s complex

civil litigation experience as both a litigator and a judge make her an ideal choice. Judge Ellis runs

an efficient docket and is not currently presiding over an MDL. Thus, Judge Ellis would be well-

positioned to oversee this proposed MDL.

               B. Western District of Missouri, Judge Stephen R. Bough

       Alternatively, the Panel should select the Western District of Missouri for transfer of these

actions. One related action is already pending in the Western District of Missouri. 23 The Western

District of Missouri is also centrally located and would permit convenient travel for all parties,

witnesses, and counsel for this national litigation. The Western District of Missouri is home to



22
   See Westlaw Litigation Analytics Report for Honorable Sara L. Ellis, Westlaw Edge (last
visited July 30, 2022, 8:49 PM),
https://1.next.westlaw.com/Analytics/Profiler?docGUID=I19773D701DD211B2850B0700720C
E866&contentType=judge&originationContext=typeAhead&transitionType=LegalLitigation&c
ontextData=(sc.Default)&analyticNavigation=none&pathAnalytic=%2FAnalytics%2FHome#/ju
dge/I19773D701DD211B2850B0700720CE866/profile.
23
   See Schedule of Actions attached as Exhibit “A” at pg. 7.

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Kansas City, Missouri, which is an accessible, metropolitan location with a new airport opening

in the coming months. 24 Next, the Western District of Missouri is centrally located to Defendants’

data centers. Additionally, the Western District of Missouri has a similarly impressive track record

of efficiently managing its docket. The median time from filing to disposition of a civil case in

the Western District of Missouri is just 7.8 months. The Western District of Missouri also has the

resources to provide an efficient disposition of these cases, both in terms of number of current

MDL’s pending (6) and amount of judges/size of the Clerk’s office. 25

       If the Panel selects the Western District of Missouri, Movant-Plaintiff respectfully

requests the Panel assign this MDL to U.S. District Court Judge Stephen R. Bough. Judge Bough

has served as District Judge in the Western District of Missouri since 2014. Before his

appointment, Judge Bough practiced in private litigation, including owning his own firm, for

nearly 15 years. During eight years serving the federal judiciary, Judge Bough has gained

exceptional experience overseeing complex litigation. In fact, Judge Bough is currently presiding

over In re: Smitty’s/Cam2 303 Tractor Hydraulic Fluid Marketing, Sales Practices, and Product

Liability Litigation, MDL 2963, which involves class actions coupled with an insurance coverage

action. This MDL consists of only 11 cases and appears near to conclusion this fall. See

Scheduling Order, In Re Smitty’s/CAM2 303 Tractor Hydraulic Fluid Marketing, Sales Practices,

and Product Liability Litigation, No. 4:20-md-2936 (W.D. Mo. Jul. 22, 2022). Judge Bough’s

MDL experience supports selection for overseeing the transfer and consolidation of these actions

within the Western District of Missouri.



24
   See New Single Terminal at Kansas City International Airport Lands in 2023, VISIT KC (last
visited July 30, 2022, 8:12 PM), https://www.visitkc.com/meetings/why-kc/meeting-
articles/new-kci-single-terminal-lands-early-2023.
25
   See Caseload Statistics Data Tables, United States Courts, https://www.uscourts.gov/statistics-
reports/caseload-statistics-data-tables.

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                                        *       *        *

       For the reasons set forth herein, consolidation is appropriate, and Judge Sara L. Ellis of

the Northern District of Illinois is an excellent venue and judge to manage this litigation.

Alternatively, Judge Stephen R. Bough of the Western District of Missouri would be another

exemplary venue and judge to oversee these actions.

                                        CONCLUSION

       Movant-Plaintiff respectfully requests that the Panel grant this motion for transfer and

coordination or consolidation under 28 U.S.C. § 1407 and transfer the Schedule of Actions, and

any tag-along actions, to Judge Sara L. Ellis of the Northern District of Illinois or Judge Stephen

R. Bough of the Western District of Missouri.



 Respectfully submitted,                             Dated: August 1, 2022

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